         Case
          Case2:14-cr-00053-GMN-DJA
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 6                                 UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                         Plaintiff,                  )
                                                       )
10          v.                                         ) 2:14-CR-053-GMN-(CWH)
                                                       )
11 WILLARD P. WITHAM, SR.,                             )
                                                       )
12                         Defendant.                  )
13               FINAL ORDER OF FORFEITURE AS TO WILLARD P. WITHAM, SR.

14           On June 24, 2014, this Court entered a Preliminary Order of Forfeiture pursuant to Fed. R.

15 Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section 924(d)(1) and (2)(C) and Title 28,

16 United States Code, Section 2461(c); Title 21, United States Code, Section 853(a)(1) and (a)(2); and

17 Title 21, United States Code, Section 881(a)(11) and Title 28, United States Code, Section 2461(c)

18 forfeiting property of defendant WILLARD P. WITHAM, SR., to the United States of America.

19 Indictment, ECF No. 11; Change of Plea, ECF No. 41; Plea Agreement, ECF No. 42; Preliminary

20 Order of Forfeiture, ECF No. 43.

21           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED, pursuant to Fed. R. Crim. P

22 32.2(b)(4)(A) and (B); Title 18, United States Code, Section 924(d)(1), (2)(C), (3)(B), and (3)(C) and

23 Title 28, United States Code, Section 2461(c); Title 21, United States Code, Section 853(a)(1) and

24 (a)(2); and Title 21, United States Code, Section 881(a)(11) and Title 28, United States Code, Section

25 2461(c), that the Preliminary Order of Forfeiture (ECF No. 43), listing the following assets, is final as

26 to defendant WILLARD P. WITHAM, SR.,:
     Case
      Case2:14-cr-00053-GMN-DJA
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 1     1. one (1) Taurus .38 caliber revolver bearing manufacturer’s serial number LC40499;

 2     2. one (1) Taurus model PT 740 .40 caliber semi-automatic handgun bearing manufacturer’s

 3         serial number SDT94901;

 4     3. one (1) Kel-Tec model PF-9 9 millimeter semi-automatic handgun bearing manufacturer’s

 5         serial number S3Y89;

 6     4. one (1) Smith & Wesson model SD40VE .40 caliber semi-automatic handgun bearing

 7         manufacturer’s serial number HED2760;

 8     5. and all ammunition

 9     6. $290.00 in United States Currency;

10     7. $2,810.00 in United States Currency;

11     8. One (1) 2003 black Chevrolet pick-up truck, VIN: 2ECEK19N731288886, license plate

12         number 042 LDH; and

13     9. An in personam criminal forfeiture money judgment of $14,570 in United States

14         Currency.

15     DATEDthis
       DATED  this___
                   19th
                      dayday of December,
                          of December,    2014.
                                       2014.

16

17
                                                     ________________________________
18                                        UNITED STATES  DISTRICT  JUDGE
                                               Gloria M. Navarro, Chief Judge
19                                                   United States District Court
20

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